Case 1:02-cv-00557-RWR Document 18-10 Filed 02/21/03 Page 1 of 7
Case 1:02-cv-00557-RWR Document 18-10 Filed 02/21/03 Page 2 of 7
Case 1:02-cv-00557-RWR Document 18-10 Filed 02/21/03 Page 3 of 7
Case 1:02-cv-00557-RWR Document 18-10 Filed 02/21/03 Page 4 of 7
Case 1:02-cv-00557-RWR Document 18-10 Filed 02/21/03 Page 5 of 7
Case 1:02-cv-00557-RWR Document 18-10 Filed 02/21/03 Page 6 of 7
Case 1:02-cv-00557-RWR Document 18-10 Filed 02/21/03 Page 7 of 7
